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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE
DONALD D. PARKELL,
Plaintiff,
v. Civ. No. 14-601-LPS
ROBERT COUPE, et al., o

Defendants.

 

Donald D. Patke]l, James T. Vaughn Correcu`onal Center, Smyrna, Delaware, Pro Se Plaimiff.

Ophelia Michelle Waters, Deputy Attorney Genera], Delaware Department of ]ustice, Wi]mington,
Delaware. Counsel for Defendants.

MEMORANDUM OPINION

March 1 9, 201 8
Wi]mjngton, Delaware

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I. INTRODUCTION

Plaintiff Donald D. Parkell (“Plaintiff”), an inmate at the James T. Vaughn Correctional
Center (“VCC”) in Srnyrna, Delaware, proceeds pro re and has been granted z'u]%rwaj)a:)perrr status.
l-le filed this civil rights complaint pursuant to 42 U.S.C. § 1983 claiming violations of his
constitutional rights (D.I. 3) The amended complaint is the operative pleading. (D.I. 19) Presentl_v
before the Court is the motion for summary judgment of Defendants Robert Coupe (“Coupe”) and
Phillip Morgan (“Morgan”) (together “Defendants”) and Plaintist opposition thereto. (D.l. 63, 64,
66, 67)

II. BACKGROUND

The original complaint \vas screened and dismissed \vith prejudice on the grounds that some
of Plaintiff’s claims duplicated those the Court had already dismissed in another of Plaintiff’s suits,
and the remainder \vere frivolous. (jee D.I. 3, 10, 11) Plaintiff appealed (D.l. 12) Upon appeal,
the Third Circuit vacated dismissal of Plainn`ff’ s failure to protect and denial of medical care claims
against Coupe and Morgan, and remanded the matter to give Plainn`ff an opportunity to amend
those claims. jee Par/ee[/ a Aiar)ee//, 622 F. App’x 136, 140-43 (3d Cir. lilly 27, 2015). Plaintiff filed
an Amended Complaint on September 21, 2015. (D.l. 19)

The Amended Complaint. The case proceeds on two claims: failure to protect and denial
of medical care. Plainliff Was incarcerated at the Ho\vard R. Young Correctional lnstitution
(“HRYCI”) in Wilmington, Delaware and housed in its west-side from March 29, 2012 through
january 31, 2014. Plaintiff alleges the West-side: (1) Was overcrowded; (2) housed three inmates to a
cell designed for one; (3) did not provide inmates adequate amenities, as they received fewer servings
of food and razors than other prisoners; (4) did not have adequate telephones and shower stalls for

the number of prisoners housed there; (5) required inmates to place their laundry in a single,

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communal laundry tub, which led to theft; and (6) limited exercise to a small, indoor concrete
enclosure that 59 inmates housed on the west-side must share. Plaintiff alleges that the HRYCI’s
most Violent and transgressive inmates are assigned to the west-side housing area. In addition, he
alleges that pretrial detainees and nonviolent offenders are housed together regardless of status and
without a risk assessment Plaintiff alleges the conditions at the HRYCI resulted in him being
assaulted on October 13, 2013, and that Defendants knew the conditions posed a risk of harm yet
failed to protect hirn. (Ia'. at 1111 23, 36, 38, 44, 83, 85, 86, 89-96)

Following the assault, Plaintiff was taken to Christiana Hospital for treatment While
hospitalized, Plaintiff was held in four-point restraints (Id. at 11 72) He alleges that his physician at
Christiana I-Iospital prescribed him oxycodone but, when returned to l-IRYCI, medical personnel did
not consider the medication ordered. (Id. at 1]1] 64, 65, 67-69) Instead, Plai.ntiff was given Tylenol
with codeine. (Id. at 1[ 65) Plaintiff alleges that he was doubled over in pain during his entire stay at
the HYRCI infirmary. (Id. at ll 69) Plaintiff alleges that HYRCI has a practice that requires the
medical vendor to replace all orders of narcotics with non-narcotics for no medical rationale (Id. at
66) I-le also alleges that he was prescribed Elavil to treat his pain, but it is a medication used to treat
mental illness. (Ia'. at 1] 75)

Evidence of Record. According to Plaintiff’s aft`tdavit/declaration, the totality of the
conditions on the west-side of HYRCI result in a “brutal gladiator type atmosphere [and]
encourage[] gangs to develop in order for men to use desired amenities or to even eat sometimes
Any opposition to gang control to full unit dominance incurred an attack or intimidation.” (D.l. 66
at 24-25)

Defendants admit that: (1) all 59 men on tiers built for 20 men did not have to have tier

access at the same time and an easy alternative is to split the tier recreation in half, with only ten out

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of the twenty cells unlocked at a time; (2) laundry bags were not issued to inmates and laundry was
required to be placed in a large bin left on the tier all day, accessible to every man on the tier;
(3) intake provided one pair of socks, two boxer shorts, two t-shirts, two uniforms, two sheets, one
blanket, one washcloth, and one towel to new inmates; (4) sentenced inmates housed in the east-side
of the institution and who commit class one infractions are required to live on the west-side for at
least six months, in addition to any other punishments imposed by the hearing officer; (5) inmates
on west-side tiers were forced to remain locked in their cells if there were staff shortages; (6) as a
general practice, all inmates are locked in during code red times, however, some workers were not
locked in, and it was documented on the count sheets; (7) inmates on the west-side are given the
option to go to the yard with cement walls and floor, an area too small to hold 59 men, basketball is
the only exercise available, and if an inmate did not wish to go to the concrete yard he was required
to lock into his cell; and (8) two showers available for 59 men is not suf&cient. (D.I. 55 at 2-5)

Defendants deny that: (1) phones were controlled completely by the inmates on each west-
side tier, and that this arrangement caused many thts and assaults; (2) there was no risk assessment
or compatibility considerations in place to determine housing assignments in units or individual
cells; (3) 59 men on recreation at one time in tiers designed for 20 cause extremely high volume
levels, create problems with sight lines for a tier ofEcer, and cause men to often i:`lght; (4) inmates
were locked in their cells for some religious services until the service was either complete, or not let
out of their cells until the following day; and (5) major disturbances occurred over telephones,
televisions, and food services. (Id. at 2-6)

Defendants state: (l) on occasion there were food shortages and substitutions were made if
I-IRYCI ran out of food; (2) there were enough razors for anyone who wanted to shave and razors

are given to inmates who ask for them; (3) cell assignment for prisoners on the east-side is

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designated by classification, not solely on availability of bed space; and (4) inmates are not locked in
for all codes, but are locked in for some codes. (Id. at 2-5)

Plaintiff states that “Eghts, assaults, small riots, Eres, suicide attempts, and more occurred
daily. Codes were called over loudspeakers constantly.” (D.I. 66 at 21) Plaintiff submitted
numerous grievances complaining about the conditions at HRYCI. (D.l. 56-1 at 1-10, 44-47, 52-77,
83-86, 104-16, 119-34, 140-79, 209-13, 238-43) One grievance, dated September 17, 2012, refers to
Plaintist housing on the same tier as sentenced inmates; he complained this subjected him to “the
unpredictable behaviors of act-out prone sentenced inmates” who were cramped in the unit with
him. (D.I. 56-1 at 116)

On October 13, 2013, C/ O Kobus (“Kobus”) saw another inmate and Plaintiff fighting by a
sink during the chow clean up. (D.I. 64 at EX. A) Kobus called a code 8 over the radio, and
members of the security team responded to escort inmates off the pod. (Id.) Plaintiff was charged
with iighting, and stated that “it wasn’t a light, the three of them jumped me. lt was something
deep rooted. l always took up for the little guy.” (Id.) A disciplinary hearing was held on October
25, 2013, Plaintiff was found not guilty, and the inmates who attacked him were sent to the “hole.”
(D.l. 64 at Ex. A; D.I. 66 at 24)

Following the assault, Plaintiff was treated at the HRYCI infirmary for a laceration to his
scalp and rib pain, and his eyes were flushed with eyewash. (D.I. 64 at Ex. B) I-le was transferred to
Christiana Hospital for treatment of his injuries.1 (D.I. 34 at 350, 364; D.I. 64 at Ex. B) Plaintiff
was held in four-point restraints during his hospitalization (D.I. 55 at 2) Plaintiff submitted a
grievance complaining that while hospitalized for four days, with severe trauma to his ribs and lungs,

multiple broken iibs, and a chest tube, he was held in four-point restraints, which were “painful.”

 

1 The record does not contain Plaintiff’s medical records from Chi:istiana Hospital.

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(D.I. 56-1 at 223-31) Plaintiff acknowledged “security risks in every inmate action.” (Id. at 231) An
investigation determined that Plaintift’s hospitalization and treatment were “on par with Department
Policies and Procedures” and that Plaintiff “was not mistreated by hospital or security staff. (Id. at
224, 229)

Plaintiff returned to HYRCI the evening of October 18, 2013, and was admitted to its
infirmary, where he remained until October 23, 2017. (`D.I. 34 at 346-365) The physician at
Ch.ristiana Hospital had “prescribed a signiHcant medication for pain at appropn`ate dose and levels”
and when Plai.ntiff was released to return to the HYRCI the physician “prescribed a further regimen
for recovery.” (D.I. 66 at 25-26) Upon admittance to the I-IRYCI inErmary, Plaintiff was angry that
I-IRYCI’s medical contract provider was at the hospital and “limiting his care for proiit.” (D.I. 34 at
361) Plaintiff was advised by a Correct Care Solutions (“CCS”) physician that Plaintiff was provided
“standard of care” and CCS was addressing Plaintiff’s pain. (Id.) While recovering in the mirmary,
Plaintiff was given Tylenol #3 and Mot'rin. (Ia'. at 361, 364) Upon his discharge he was to continue
taking the Tylenol #3, and he was also prescribed naproxen and Elavil for neuropathic pain. (Id. at
357)

On October 23, 2013, Plaintiff submitted a grievance about the medication administered
him. (D.I. 56-1 at 231-37) He complained that in the hospital he was given a dilaudid drip and
oxycodone and the “amount was perfect,” while the pain management protocol used at HYRCI left
him in intense pain. (Id. at 236) The sick call and pain management process was explained to
Plaintiff. (Id. at 277) Investigation of the grievance determined that Plaintiff was on three
medications that were considered medically adequate for his discomfort (Id. at 232)

On October 24, 2013, Plaintiff refused the Elavil because he believes the medication is for
“antipsychosis.” (Id. at 563) According to Plaintiff, the medication prescribed was “so ineffective

that [he] lived in a brutal hell for over two weeks.” (D.I. 66 at 26) Defendants admit that Plaintiff

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was prescribed a pain medication by the Christiana Hospital that was not provided to him at
HYRCI. (D.I. 55 at 6)

According to Dr. Vincent Carr (“Dr. Carr”), medical director of the Bureau of Correctional
Health Services (“BCHS”) for the Delaware Department of Correction (“DOC”), the substitution of
oxycodone with Tylenol with codeine is not inferior medication but is, instead, a proper analgesic
for the situation. (D.l. 64 at Ex. C) After his discharge from the HRYCI iniirmary, Plaintiff was
prescribed Elavil for pain. (Ia'.) This medication is effective in treating neuropathic pain and has
been considered a standard treatment for neuropathic pain for decades. (Id.) According to Dr. Carr,
there is no BCHS or HRYCI policy that prohibits prescribing narcotics or controlled substances or
requires replacing narcotics with non-narcotic prescriptions (Id.)

Defendants move for summary judgment on the grounds that there is no genuine issue as to
any material fact and that they are entitled to judgment as a matter of law.
III. LEGAL STANDARDS

Under Rule 56(a) of the Federal Rules of Civil Procedure, “[t]he court shall grant summary
judgment if the movant shows that there is no genuine dispute as to any material fact and the
movant is entitled to judgment as a matter of law.” The moving party bears the burden of
demonstrating the absence of a genuine issue of material fact. See Mat.ru.r})z`z‘a E/ec. Indm. Co., Ltd. 2).
Zem't/) Radz`o Cmp., 475 U.S. 574, 585-86 (1986). An assertion that a fact cannot be -- or, alternatively,
is -- genuinely disputed must be supported either by “citing to particular parts of materials in the
record, including depositions, documents, electronically stored information, afHdavits or
declarations, stipulations (including those made for purposes of the motion only), admissions,
interrogatory answers, or other materials,” or by “showing that the materials cited do not establish
the absence or presence of a genuine dispute, or that an adverse party cannot produce admissible
evidence to support the fact.” Fed. R. Civ. P. 56(c)(1)(A) & (B). If the moving party has carried its

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burden, the nonmovant must then “come forward with specific facts showing that there is a genuine
issue for trial.” Maz‘:ur/)z`ta, 475 U.S. at 587 (internal quotation marks omitted). The Court will “draw
all reasonable inferences in favor of the nonmoving party, and it may not make credibility
determinations or weigh the evidence.” Reez)e.r 1). Sander.ro)) P/umbz`ng Pmdr., Inc., 530 U.S. 133, 150
(2000).

To defeat a motion for summary judgment, the nonmoving party must “do more than
simply show that there is some metaphysical doubt as to the material facts.” Mat.tus/)z`ta, 475 U.S. at
586; see aka Poa'o!mz`k 1). U.S. Porta/ Ferv., 409 F.3d 584, 594 (3d Cir. 2005) (stating party opposing
summary judgment “must present more than just bare assertions, conclusory allegations or
suspicions to show the existence of a genuine issue”) (internal quotation marks omitted). The “mere
existence of some alleged factual dispute between the parties will not defeat an otherwise properly
supported motion for summary judgment;” a factual dispute is genuine only where “the evidence is
such that a reasonable jury could return a verdict for the nonmoving party.” Ander.ron a Lz'l)erg!y
l..obb], Im., 477 U.S. 242, 247-48 (1986). “If the evidence is merely colorable, or is not signilicantly
probative, summary judgment may be granted.” Ia'. at 249-50 (internal citations omitted); see alto
Ce/otex Co)p. 1). Catretf, 477 U.S. 317, 322 (1986) (stating entry of summary judgment is mandated
“against a party who fails to make a showing sufficient to establish the existence of an element
essential to that party’s case, and on which that party will bear the burden of proof at trial”). Thus,
the “mere existence of a scintilla of evidence” in support of the nonmoving party’s position is
insuf&cient to defeat a motion for summary judgment; there must be “evidence on which the jury

could reasonably find” for the nonmoving party. Ana'er.rorz, 477 U.S. at 252.

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IV. DISCUSSION

A. Failure to Protect

The Amended Complaint raises several claims relating to conditions of confinement As
Defendants correctly note, those claims were dismissed under the standard for pretrial detainees and
the dismissal was afErmed on appeal See Parke//, 622 F. App’x at 139. On appeal, Plaintiff clarified
he was a convicted inmate during the relevant time-frame and that he was not asserting conditions
of confinement claims. Id. at n.3. Plaintiff refers to the conditions as a means to describe the
environment in which he was imprisoned Regardless, the Court will dismiss any conditions of
confinement claims to the extent it was Plaintiff’s intent to reassert them.

Plaintiff was assaulted by other inmates in October 2013. He alleges that the conditions
under which he was housed on the west-side created a substantial risk that an inmate might be
seriously harmed, that Defendants failed to protect him from that risk, and he was injured.
Defendants move for summary judgment on the failure to protect issue on the grounds that there is
no evidence to support the claims raised against them. Plaintiff responds that his claim arises from
the direct result of intentional acts that were taken by Defendants to create an environment on the
west-side of the HRYCI meant to directly punish the most transgressive sentenced prisoners.

The E.ighth Amendment requires prison ofEcials “to protect prisoners from violence at the
hands of other prisoners,” but not every prisoner-inflicted injury amounts to a constitutional
violation. Fam'er 1). Bmman, 511 U.S. 825, 833-34 (1994). To prevail on a failure-to-protect claim,
there must be a showing that the prisoner was “(1) incarcerated under conditions posing a
substantial risk of serious harm, (2) the official was deliberately indifferent to that substantial risk to
his health and safety, and (3) the official’s deliberate indifference caused him harm.” Bz`.ttrz`an v. Let)z`,
696 F.3d 352, 367 (3d Cir. 2012) (citing Famer, 511 U.S. at 834). An official acts with deliberate

indifference when he or she knows of and disregards a substantial risk of serious harm to inmate

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health or safety. .S`ee F¢zmzer, 511 U.S. at 837. lt does not matter “whether a prisoner faces an
excessive risk of attack for reasons personal to him or because all prisoners in his situation face such
a risk.” Id. at 843.

There is no evidence of record that Plaintiff complained to either Defendant about the
alleged dangerous conditions at the HRYCI. Nor is there evidence that either Defendant was aware
that the alleged conditions posed an excessive risk of attack for all prisoners in Plaintiff’s situation.
At most, the evidence reflects that Plaintiff complained on September 17, 2012 about being housed
on the same tier as sentenced inmates and this subjected him to “the unpredictable behaviors of act-
out prone sentenced inmates” who were cramped in the unit with him. (D.I. 56-1 at 116) The
grievance was deemed non-grievable and there is no evidence that it was ever brought to the
attention of either Defendant ln addition, it was submitted on September 17, 2012, more than a
year before Plaintiff was assaulted in October 2013. Given the evidence of record, no reasonable
jury could lind that either Defendant had knowledge of a substantial danger to Plaintiff.

In addition, both Defendants are supervisory officials. To establish that either supervisory
Defendant was deliberately indifferent, Plaintiff must identify a specific policy or practice that the
supervising official failed to employ and show that the existing policy or procedure created an
unreasonable risk of a constitutional violation, that the ochial was aware of but indifferent to the
risk, and that the policy or procedure caused constitutional injury. See Beers-Capz'to/ 1). W/)et:{e/, 256
F.3d 120, 134 (3d Cir. 2001). The elements are met where the supervisor “failed to respond
appropriately in the face of an awareness of a pattern of such injuries” or where “the risk of
constitutionally cognizable harm is so great and so obvious that the risk and the failure of
supervisory officials to respond will alone support” a finding of deliberate indifference Sa)){p/e a

Dieck.r, 885 F.2d 1099, 1118 (3d Cir. 1989).

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Plaintiff has identified no such policy, procedure, or practice. The Court considered
Defendants’ denials and admissions in determining whether there were policies, procedures, or
practices that caused a risk of harm so great that the failure of Defendants to respond to the
conditions would support a finding of deliberate indifference While Defendants acknowledge
overcrowding conditions and that inmates are housed in the west-side as a form of punishment,
none of the admissions or denials point to a “brutal” prison atmosphere or that the atmosphere led
to a pattern of inmate assaults. Defendants deny that phones were controlled completely by the
inmates on each west-side tier, and that this arrangement caused many tights and assaults. They
deny there was no risk assessment or compatibility considerations in place to determine housing
assignments in units or individual cells. They deny that 59 men on recreation at one time in nets
designed for 20 cause extremely high volume levels, create problems with sight lines for a tier
officer, and cause men to get into fights often. They deny that major disturbances have occurred
over the phones and televisions and food services. .Also, they indicate that cell assignment for
prisoners on the east-side is determined by classification, not solely based on availability of bed
space.

Plaintiff’s affidavit refers, generally, to fights and assaults that occurred daily. However, as
discussed by the Third Circuit, Plaintiff provides no evidence of a policy or practice to indicate how
frequently lights over provisions occurred prior to his October 2013 assault, how many lights
resulted in serious injury, and/ or what prison guards’ actual response - beyond sounding an
emergency alert - was to such fighting See Par/ee//, 622 F. App’x at 140. Nor is there evidence of
record that the type of dispute that caused Plaintist injuries was so pervasive, injurious, and
predictable, and guards’ typical responses so ineffectual, that Defendants must have been aware of a

problem merely by virtue of their institutional roles. The evidence does not support a Hnding of

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unconstitutional conduct by Defendants. Therefore, the Court will grant the motion for summary
judgment on the failure to protect claim.

B. Medical Needs

Plaintiff alleges HRYCI has a policy that prevents medical personnel from providing
medication or replacing it with an alternative medication of comparable strength Defendants move
for summary judgment on the grounds that there is no evidence to support Plaintiff s claims
regarding the medication administered hirn.

Denial of medical care violates the Eighth Amendment if a prison official is deliberately
indifferent to a prisoner’s serious medical need. .S`ee Rou.te v. P/am'z`er, 182 F.3d 192, 197 (3d Cir.
1999). Deliberate indifference can occur when a prison oflicial “knows of a prisoner’s need for
medical treatment but intentionally refuses to provide it” or “prevents a prisoner from receiving
needed or recommended medical treatment.” Id. Neither “mere allegations of malpractice” nor a
prisoner’s disagreement with prison medical professionals as to the proper method of treatment
rises to the level of an Eighth Amendment violation. .S`ee Mom)zout/] Cng). Corr. In.rtz`tutz'ona/ Inmate: 1).
Lan:{am, 834 F.2d 326, 346 (3d Cir. 1987) (citations omitted). As noted by the Third Circuit,
assuming oxycodone was, in fact, necessary, I-IRYCI may have provided Plaintiff with qualitatively
inferior and inadequate medical care. Fee Parke//, 622 F. App’x at 141 (citing Rou.te, 182 F.3d at 197;
West a Kez)e, 571 F.2d 158, 161 (3d Cir. 1978) (holding that an unconstitutional denial of medical care
occurred where deliberate indifference by prison officials “caused an easier and less efficacious
treatment to be provided”)).

There is no evidence of record that HRYCI had a policy of substituting medication without
a medical rarionale. lnstead, the DOC has a policy that provides for medical autonomy in providing
medical care to inmates. (.S`ee D.l. 64 at Ex. E) “It is the policy of the DOC that the institution

Medical Director designated by the Medical Contract Provider, has responsibility for approving

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medical decisions made by supervised state licensed provider staff regarding the care provided to
offenders of an institution (Id. at jj E.1.)

Defendants admit that Plaintiff was prescribed a pain medication by the Christiana Hospital
that was not provided by HYRCI. Plaintiff was told by a CCS physician that he was provided
“standard of care,” that CCS was addressing Plaintist pain, and that any non-formulary would need
to follow a process. The unrefuted medical opinion of Dr. Carr is that substituting Tylenol with
codeine for oxycodone did not leave Plaintiff with an inferior medication but, instead, in the
prescriber’s opinion, with the proper analgesic for the situation. The medical decision to substitute
the medication was not made by either Defendant. lt was made by medical personnel

Given the medical records, and the opinion that the substitution was appropriate, no
reasonable jury could conclude there was deliberate indifference to Plaintist medical needs. There
is no evidence that Defendants had any involvement with regard to the administration of medication
to Plaintiff. .$`ee Rode a De//am_`prete, 845 F.2d 1195, 1207 (3d Cir. 1988) (“A[n individual government]
defendant in a civil rights action must have personal involvement in the alleged wrongdoing; liability
cannot be predicated solely on the operation of respondeat superior Personal involvement can be
shown through allegations of personal direction or of actual knowledge and acquiescence.”).
lnstead, as provided for in DOC policy, medical personnel were responsible for medical decisions
made in providing care to Plaintiff. Accordingly, the Court will grant Defendants’ motion for
summary judgment on Plaintiff’s medical needs claim.

Finally, Plaintiff alleges that his constitutional n`ghts were violated when he was placed in
four-point restraints during his hospitalization Defendants did not address the issue in their motion
for summary judgment Parkell claims Defendants waived the issue by failing to raise it. I-lowever it
is unclear to the Court if the failure to raise the issue was due to Defendants’ reliance upon Parke/! 1).

Mark.e//, which did not address the issue of four-point restraints and determined that Plaintiff should

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be allowed to amend the previously-dismissed conditions of confinement and medical needs claim,
or if the failure to raise the issue was due to Defendants’ oversight Because of the foregoing, the
Court does not agree that Defendants waived the issue.

'l"he issue has not been fully fleshed out, and it is unclear if the four-point restraints were
necessary due to security concerns, due to medical concerns, or both. Therefore, Defendants will be
given leave to file a renewed motion for summary judgment that addresses this discrete issue.

V. CONCLUSION

For the above reasons, the Court will grant Defendants’ motion for summary judgment2

(D.l. 63) In addition, Court will enter an amended scheduling order.

An appropriate Order will be entered.

 

2 Because summary judgment is appropriate on other grounds, the Court will not address the issue
of qualified immunity.

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